 1                            UNITED STATES DISTRICT COURT
 2                         SOUTHERN DISTRICT OF CALIFORNIA
 3

 4                      DECLARATION OF JAMISON MATUSZEWSKI
                           DEPUTY FIELD OFFICE DIRECTOR
 5                    IMMIGRATION AND CUSTOMS ENFORCEMENT
 6                     ENFORCEMENT AND REMOVAL OPERATIONS

 7

 8
           I, Jamison R. Matuszewski, Deputy Field Office Director, make the following
 9
     statements under oath and subject to the penalty of perjury.
10
            1.     I am employed by U.S. Department of Homeland Security (DHS),
11
     Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations
12
     (ERO). I currently serve as Deputy Field Office Director of the ICE/ERO San Diego Field
13
     Office.
14
           2.     I am making this declaration at the request of the Office of the U.S. Attorney
15
     to assist this Court regarding the prospective custody status of the petitioners/plaintiffs in
16
     this case, namely Petitioner/Plaintiffs Calderon-Lopez, Mary Doe, Alcantara, and Osorio
17
     Reyna, all of whom were released from custody on Orders of Supervision in April 2020,
18

19
     as well as information on certain detainees recently booked into the Otay Mesa Detention

20
     Center (OMDC) and Imperial Regional Detention Facility {IRDF).

21
           3.     None of Petitioners/Plaintiffs and no other detainee who has been released

22   from OMDC or IRDF during the course of this litigation will be re-detained at either of

23   those facilities or at any other facility within the control of San Diego ERO absent a
24   material change in circumstances beyond the government's control, and consistent with
25   CDC guidelines, ICE guidance, and all other applicable laws and court orders.
26         4.     Currently ICE ERO San Diego has detained seven individuals who tested
27   positive for COVID-19 at the time of apprehension.
28

                                                    1

                                                                             20cv0756 DMS AHG
          a. On or about August 4, 2020, four individuals were booked into IRDF after
 2           being apprehended by U.S. Border Patrol (USBP) near Calexico, CA,
 3           after illegally crossing into the United States through Mexico. These
 4           individuals tested positive for COVID-19 after apprehension and were
 5           booked into IRDF and, upon arrival, placed in quarantine in the negative
 6           pressure rooms at IRDF's medical housing unit. These individuals will
 7           remain in quarantine for 14 days. Apart from these individuals, IRDF has
 8           not had a detainee test positive since May 29, 2020.
 9        b. On or about August 5, 2020, three individuals were booked into OMDC
10           after being apprehended by USBP near Calexico, CA, after illegally
11           crossing into the United States through Mexico. These individuals tested
12           positive for COVID-19 after apprehension and were booked into OMDC
13
             and, upon arrival, placed in quarantine in OMDC's medical housing unit.
14
             These individuals will remain in quarantine for 14 days. Apart from these
15
             individuals, OMDC has not had an ICE detainee test positive since June
16
             30, 2020. Whole facility testing was conducted at OMDC on July 7 - 9,
17
             2020 when approximately 286 ICE detainees were tested except for 44
18
             ICE detainees who declined to be tested. From that testing, there were no
19
             new COVID-19 positive test results from ICE detainees.
20

21

22
     DATED: August 10, 2020
                                              ~?s
                                          JalTiistuszewski
23                                        Deputy Field Office Director
                                          Enforcement and Removal Operations
24                                        U.S. Immig_ration and Customs Enforcement
                                          San Diego Field Office
25

26

27

28

                                          2


                                                                    20cv0756 DMS AHG
